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                       EXHIBIT A
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AMERICAN BAR ASSOCIATION
STANDING COMMITTEE ON ETHICS AND PROFESSIONAL RESPONSIBILITY


Formal Opinion 509                                                                              February 28, 2024

Disqualification to Prevent the Misuse Use of “Confidential Government Information”

Model Rule of Professional Conduct 1.11(c) protects a person from the misuse of certain
information about the person that the government used its authority to acquire. The confidential
information protected by Rule 1.11(c) is defined by the Rule as information obtained under
government authority about a person which the government is prohibited from disclosing to the
public or has a legal privilege not to disclose and is not otherwise available to the public. The
Rule provides that a lawyer who acquired the information while serving as a government officer
or employee is disqualified from representing a “private client” whose interests are adverse to
prevent the confidential government information from being used to the material disadvantage of
that person. The Rule applies regardless of whether the lawyer seeking to represent the private
client has left government employ or office or maintains a private law practice (e.g., a part-time
practice) while still in government employ or office. The Rule applies to a lawyer representing a
“private client,” meaning a client whom the lawyer represents in private practice, regardless of
whether the client is a public entity or private individual or entity.

                                                   Introduction

Rule 1.11 of the ABA Model Rules of Professional Conduct is titled “Special Conflicts of Interest
for Former and Current Government Officers and Employees.”1 This Opinion clarifies the scope
of Rule 1.11(c), a disqualification provision that protects against the misuse of “confidential
government information.”2 The Opinion begins by explaining this provision and highlighting how
it differs from the ordinary confidentiality obligations that the Model Rules establish for lawyers
generally, including but not limited to current and former government lawyers. The opinion then
addresses two areas of potential ambiguity: (1) whether the Rule applies to a current government
lawyer representing a private client; (2) and the definition of “private client.”




1
  This opinion is based on the ABA Model Rules of Professional Conduct as amended by the ABA House of
Delegates through August 2023. The laws, court rules, regulations, rules of professional conduct, and opinions
promulgated in individual jurisdictions are controlling.
2
  When used in this opinion, the phrase “confidential government information” means “information that has been
obtained under government authority and which, at the time this Rule is applied, the government is prohibited by
law from disclosing to the public or has a legal privilege not to disclose and which is not otherwise available to the
public” as defined by Rule 1.11(c). Additional discussion of this concept can be found at section I of this opinion.
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                                                    Opinion

I. Rule 1.11(c)

In general, under the Model Rules, lawyers representing a public or government entity or official3
have the same confidentiality obligations as lawyers for private individuals and private entities,
although statutes and regulations may establish additional confidentiality obligations. Rules 1.6(a),
1.8(b) and 1.9(c) generally provide that both during and after the representation, a lawyer may not
reveal information relating to the client’s representation or use such information to the client’s
disadvantage without the client’s informed consent, unless an exception applies. Further, to prevent
the misuse of such information, a former client’s lawyer generally may not represent another
person when that person’s interest is materially adverse to the former client if the new matter is
the same as or substantially related to the earlier one, unless the former client consents. Rule 1.18
imposes similar (although not entirely identical) obligations and restraints when a lawyer learns
information from a prospective client.

In the case of a lawyer who serves, or served, in or on behalf of the government, there is an
additional confidentiality provision that is the subject of this Opinion. ABA Model Rule of
Professional Conduct 1.11(c) provides:

                (c) Except as law may otherwise expressly permit, a lawyer having
        information that the lawyer knows is confidential government information about a
        person acquired when the lawyer was a public officer or employee, may not
        represent a private client whose interests are adverse to that person in a matter in
        which the information could be used to the material disadvantage of that person.
        As used in this Rule, the term "confidential government information" means
        information that has been obtained under governmental authority and which, at the
        time this Rule is applied, the government is prohibited by law from disclosing to
        the public or has a legal privilege not to disclose and which is not otherwise
        available to the public. A firm with which that lawyer is associated may undertake
        or continue representation in the matter only if the disqualified lawyer is timely
        screened from any participation in the matter and is apportioned no part of the fee
        therefrom.

The objective of the Rule is to “prevent the lawyer’s improper use of his or her official position”
and to protect others from the exploitation of confidential government information, acquired by
the lawyer while serving as a public officer or employee.4

Rule 1.11(c) differs in several significant respects from the ordinary confidentiality rules. First,
Rule 1.11(c) provides for disqualification in some circumstances to protect against the misuse of

3
  When used in this opinion, both the adjectives “public” and “government” are used to describe officers and
employees to whom this Rule applies. The title of Rule 1.11 uses the adjective “government” while the text of Rule
1.11 uses the term “public” to describe the officers and employees. The Committee believes they mean the same
thing.
4
  ART GARWIN, A LEGISLATIVE HISTORY: THE DEVELOPMENT OF THE ABA MODEL RULES OF PROFESSIONAL
CONDUCT 1983-2013, 279 (2013).
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certain government information adversely to any “person” (i.e., an individual or an entity)5 to
whom the information relates (which may or may not be the person from whom the government
obtained the information), rather than adversely only to a former client.6

Second, Rule 1.11(c) refers to confidential government information about a person “acquired
when the lawyer was a public officer or employee,” indicating that the rule applies irrespective of
whether lawyers served in a representational capacity when they acquired the confidential
government information. This furthers the Rule’s objective because there is the same need to
protect the information from misuse regardless of the lawyer’s role or status in the government
when the lawyer obtained the information. For instance, a lawyer who also is a police officer is a
public officer for purposes of Rule 1.11(c).7 That lawyer is subject to Rule 1.11(c) when that
lawyer possesses information, acquired when serving as a police officer, that the lawyer knows is
confidential government information that could be used to the material disadvantage of a person
whose interests are adverse to the lawyer’s private client in a matter.8
Accordingly, the Rule applies to lawyers who acquire confidential government information while
serving as legislators, public executives, and other public officers who are not representing the
government as legal counsel.9

Third, Rule 1.11(c) does not protect all government information but only protects certain
information about a person acquired by the lawyer while serving as a public officer or employee.
In particular, it protects “information that has been obtained under governmental authority and
which . . . the government is prohibited by law from disclosing to the public or has a legal privilege
not to disclose and which is not otherwise available to the public.” Comment [4] to Rule 1.11
explains that government lawyers are prohibited from disclosing or using “confidential



5
  In general, the Model Rules use the term “person” to refer to anyone—e.g., an individual or an entity (such as a
corporation or a public entity)—and not exclusively to an individual. See, e.g., MODEL RULES OF PROF’L CONDUCT
R. 4.2 & 4.4(a).
6
  Typically, Rule 1.11(c) applies when a lawyer, having acquired confidential government information while in
government service, seeks to use the information adversely to a party other than the government. But the Rule can
apply equally if the lawyer were to seek to use the information adversely to the government. For example, if a
lawyer serving in public office were to learn confidential government information, the Rule would apply if the
lawyer were to seek to use the information on behalf of a private client in litigation against the government,
assuming the other requirements of the Rule were met.
7
  Whether a practicing lawyer who is also a police officer has a conflict of interest that would prohibit that lawyer
from representing particular clients, such as criminal defendants, will depend on the facts and is not the subject of
this opinion.
8
  N.Y.S. Bar Ass’n Comm. on Prof’l Ethics Op. 1187 (2020) ¶ 8 (“If the police officer-lawyer is aware of
confidential government information such as unfavorable employment reviews or non-public job discipline imposed
on another police officer who is a witness in a traffic court matter against the police officer-lawyer’s private client
and if that information “could be used to the material disadvantage” of the officer-witness in plea negotiations or for
impeachment purposes, then the police officer-lawyer may not represent the traffic court defendant in that matter.”)
9
  See N.Y.S. Bar Ass’n Comm. on Prof’l Ethics Op. 1169 (2019) (Rule 1.11(c) applies to a lawyer who gains
confidential government information in the position of Town Supervisor, even when he did not work on the matter
and came across the information by happenstance); Utah State Bar, Ethics Advisory Comm. Op. 15-01, 2015 WL
3513297, at *3 (2015) (opining that Rule 1.11(a)(2) applied to a lawyer who formerly served as a member of the
Utah Board of Pardons and Parole; Philadelphia Bar Ass’n, Prof’l Guidance Comm. 2012-2, 2012 WL 7148213, at
*1 (2012) (“Rule 1.11 does not contemplate whether the specific duties of the public officer or employee are
categorized as attorney/non-attorney.”).
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government information about a person,” as defined in the Rule, because the government itself
has an obligation to protect such information.10

A lawyer serving as a government officer or employee may learn this information in various ways,
whether because the lawyer is working on the particular matter or because another public officer
or employee shares it with the lawyer in the course of the lawyer’s work.11 If the lawyer was
serving in a representative capacity, Rule 1.11(c) protects information also protected by Rule 1.6.
Rule 1.11(c) also may extend to information not protected under 1.6 if the information was
acquired by a lawyer while serving as a public officer or employee, but not as a lawyer
representing the government, meaning the lawyer learned the information in a
nonrepresentational capacity.12

Fourth, Rule 1.11(c) limits confidential government information to information “obtained under
government authority.” This includes information obtained pursuant to a grand jury subpoena, a
search warrant, a regulatory subpoena, or other government power. Further, Rule 1.11(c) does not
apply to all information obtained under government authority, but only to information that, at the
time the Rule is applied, the government is legally prohibited from disclosing to the public or has
a legal privilege not to disclose if the information is not otherwise publicly available. 13 Whether
government information is publicly available—e.g., whether it can be obtained through routine
discovery—will be a question of fact. So is the question of whether the information “could be
used to [the person’s] material disadvantage.”14 The Rule does not require that the confidential


10
   MODEL RULES OF PROF’L CONDUCT R. 1.11 cmt. [4].
11
   See N.Y.S. Bar Ass’n Comm. on Prof’l Ethics Op. 1169 (2019) ¶ 16 & 17.
12
   Id.
13
   See Or. State Bar Formal Op. 2005-120 (2015) at 13. This conceptualization of “confidential government
information” is analogous to the definition of “nonpublic information” in 5 C.F.R. § 2635.703(b) (“Use of nonpublic
information”). This regulation stipulates that a federal government employee “shall not engage in a financial
transaction using nonpublic information or allow the improper use of nonpublic information to further his own
private interest or that of another[.]” Section 2635.703(b) defines “nonpublic information” as information that an
employee obtains due to Federal employment and that he knows or reasonably should know: “(1) Is routinely
exempt from disclosure under 5 U.S.C. 552 or is protected from disclosure by statute, Executive order or regulation;
(2) Is designated as confidential by an agency; or (3) has not actually been disseminated to the general public and is
not authorized to be made available to the public on request.”
14
   In some circumstances courts have found that confidential government information providing “strategic insights”
or “roadmaps” is disqualifying. See, e.g., In re Nat’l Prescription Opiate Litigation, 2019 WL 1274555 (N.D. Ohio,
E.D. 2019) (under 1.11(c) court disqualified former Executive Assistant United States Attorney from participation as
plaintiff’s private counsel in portions of Opioid Multi District Litigation where that attorney had previously received
confidential government information shared in the “spirit of confidence and trust” that could now materially
disadvantage the third-party); N.Y. State Bar Ethics Op. 1148 (2018) (knowing how agency usually handles child
support enforcement matters, untethered to personal and substantial involvement in or confidential information
about specific mater, insufficient to disqualify former agency lawyer from representing respondents against agency);
United States v. Villaspring Health Care Ctr., 2011 WL 5330790 (E.D. KY. C.D. 2011) (based in part on Rule
1.11(c), disqualifying lawyer from defending facility (Villaspring) because as assistant attorney general he gained
“strategic insights such as knowledge of the strengths and weaknesses of the evidence” by interviewing facility’s
former employees); but see Baltimore County v. Barnhart, 30 A. 3d 291 (Md. Ct. Spec. App. 2011) (former county
attorney who dealt with county’s pension obligations did not acquire confidential information she could use to
county’s detriment in representing county retiree in pension dispute); Kronberg v. LaRouche, 2010 U.S. Dist. Lexis
35050,*16, (E.D. Va. Apr. 9, 2010) (disqualification necessary to protect the integrity of the judicial system where
former prosecutor obtained confidential government information that could be used to the material disadvantage of
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government information has been or will be used by the lawyer, only that it could be used to the
material disadvantage of a person.15

II. ABA Model Rule of Professional Conduct 1.11(c) applies to lawyers currently serving and
those who formerly served as public officers or employees.

It is sometimes observed that Rule 1.11(c) applies to lawyers who are former public officers and
employees, which is true. But the Rule does not apply exclusively to lawyers who formerly served
as public officers or employees. Rule 1.11(c) applies equally to a full or part time lawyer who
currently serves or formerly served as a government officer or employee when the lawyer (1)
represents a private client outside of the lawyer’s government employment and (2) possesses
information, acquired when the lawyer was a government officer or employee, that the lawyer
knows is confidential government information that could be used to the material disadvantage of
a person whose interests are adverse to the lawyer’s private client in a matter.

When proposed in 1983 by the Kutak Commission, Model Rule 1.11 initially aimed to establish
guidelines for addressing conflicts of interest relating to the “revolving door” – i.e., lawyers
moving from government service to private practice.16 The original Rule 1.11 was titled,
“Successive Government and Private Employment.”17 The Ethics 2000 Commission, however,
recommended expanding the Rule’s scope to address conflicts for lawyers currently and formerly
serving the government as well as those “moving from one government agency to another.”18 In
its report to the ABA House of Delegates the Ethics 2000 Commission explained, “an expanded
Rule 1.11 … combines for the first time in a single rule a lawyer’s duties when opposing a former
client, and the special obligations of a government employee not to abuse the power of public
office.”19 The Ethics 2000 Commission recommended, and the ABA House of Delegates adopted,
the Rule’s re-title to “Special Conflicts of Interest for Former and Current Government Officers
and Employees” along with amendments to the text of the Rule.20

The wording of Model Rule 1.11(c) differs from that of the other provisions of Model Rule 1.11.
Rules 1.11(a) and (b) apply explicitly and exclusively to “a lawyer who has formerly served as a

one or more defendants in spite of the passage of 20 years, because the information provided him at minimum with a
“mental roadmap”).
15
   Comment [8] explains that the disqualification requirement of Rule 1.11(c) applies only when the lawyer has
“actual knowledge” of the confidential government information, not when the information merely can be imputed to
the lawyer. See Babineaux v. Foster, 2005 WL 711604 (E.D. La. 2005) (defendant’s motion to disqualify plaintiff’s
counsel from lawsuit against City based on counsel’s previous employment as Assistant City Attorney denied in part
because absent actual knowledge of confidential government information, presumption that attorney acquired
confidential government information not sufficient to result in disqualification); N.Y.S. Bar Ass’n Comm. on Prof’l
Ethics Op. 1169 (2019), para. 17.
16
   The Commission on the Evaluation of Professional Standards (Kutak Commission) was appointed in 1997 to
review and revise the Model Code of Professional Responsibility. The 1983 Model Rules of Professional Conduct
was its product. Garwin, supra note 4, at xii.
17
   Id. at 278.
18
   Id. at 291.
19
   ETHICS 2000 REPORT 401, ABA HOUSE OF DELEGATES, at 5
www.americanbar.org/content/dam/aba/administrative/professional_responsibility/report_hod_082001.pdf.
20
   Garwin, supra note 4, at 288 (2013); PREAMBLE AND SCOPE REPORTER’S EXPLANATION OF CHANGES,
https://www.americanbar.org/content/dam/aba/administrative/professional_responsibility/e2k_migated/10_85rem.pd
f (see Ethics 2000 Commission Reporters Explanation of Changes at 40).
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public officer or employee of the government.”21 These provisions require the former government
lawyer to adhere to the confidentiality duty of Model Rule of Professional Conduct 1.9(c),
governing the preservation of information relating to the representation of a former client.
Paragraphs (a) and (b) also set out when the lawyer who formerly served as a public officer or
employee of the government is disqualified from representing a client in a matter in which the
lawyer participated personally and substantially as a government officer or employee and when
the conflict is imputed to other lawyers in the personally disqualified lawyer’s firm.22

Rule 1.11(d) applies explicitly to “a lawyer currently serving as a public officer or employee.”23 It
subjects the currently serving lawyer to other conflict rules (Model Rules 1.7 and 1.9) and imposes
other conflict-of-interest restrictions.24

21
   ABA Model Rule of Professional Conduct, Rule 1.11(a) and (b) provides:
          (a) Except as law may otherwise expressly permit, a lawyer who has formerly served as a public
officer or employee of the government:
                    (1) is subject to Rule 1.9(c); and
                    (2) shall not otherwise represent a client in connection with a matter in which the lawyer
                    participated personally and substantially as a public officer or employee, unless the
                    appropriate government agency gives its informed consent, confirmed in writing, to the
                    representation.
          (b) When a lawyer is disqualified from representation under paragraph (a), no lawyer in a firm with
which that lawyer is associated may knowingly undertake or continue representation in such a matter unless:
                    (1) the disqualified lawyer is timely screened from any participation in the matter and is
                    apportioned no part of the fee therefrom; and
                    (2) written notice is promptly given to the appropriate government agency to enable it to
                    ascertain compliance with the provisions of this rule.
22
   In general, to encourage lawyers to enter government service, the disqualification standards in these provisions are
less restrictive than the standards for lawyers who move between private law firms. Comment [4] to Rule 1.11
explains, “a former government lawyer is disqualified only from particular matters in which the lawyer participated
personally and substantially … The limitation of disqualification in paragraphs (a)(2) and (d)(2) to matters involving
a specific party or parties, rather than extending disqualification to all substative issues on which the lawyer worked,
serves a similar function.” See Douglas R. Richmond, As the Revolving Door Turns: Government Lawyers Entering
or Returning to Private Practice and Conflicts of Interest, 65 ST. LOUIS U. L.J. 325, 350 (2021).
23
   ABA Model Rule of Professional Conduct 1.11(d) provides:
          (d) Except as law may otherwise expressly permit, a lawyer currently serving as a public office or
employee:
                    (1) is subject to Rules 1.7 and 1.9; and
                    (2) shall not:
                              (i) participate in a matter in which the lawyer participated personally and
                    substantially while in private practice or nongovernmental employment, unless the
                    appropriate government agency gives its informed consent, confirmed in writing; or
                              (ii) negotiate for private employment with any person who is involved as a party
                    or as lawyer for a party in a matter in which the lawyer is participating personally and
                    substantially, except that a lawyer serving as a law clerk to a judge, other adjudicative
                    officer or arbitrator may negotiate for private employment as permitted by Rule 1.12(b)
                    and subject to the conditions stated in Rule 1.12(b).
24
   Notably, another difference between Rule 1.11 (a) and (d) and Rule 1.11(c) is that the conflict under Rule 1.11(c)
is not consentable. Rule 1.11(c) does not authorize the government, the client, or person against whom the
information might be used to waive the conflict arising under the Rule. See, e.g., Pa. Bar Ass’n Legal Ethics and
Prof’l Responsibility Comm. Op. 94-132 (1994) (former government lawyer who obtains confidential government
information while employed by the Department of Justice may not represent a client in a matter in which she was
involved as government lawyer, even with government consent); S.C. Bar Ethics Advisory Op. 97-41 (1998) (former
special prosecutor may represent victims in civil suit against criminal defendant being prosecuted by solicitor’s
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Against this background, and for several reasons, the Committee reads the phrase “a lawyer having
information that the lawyer knows is confidential government information about a person” to
include not only lawyers formerly serving as public officers or employees but also lawyers who
are currently serving as public officers or employees.

To begin with, unlike Rules 1.11(a), (b) and (d), the language of Rule 1.11(c) does not expressly
limit the paragraph’s application to lawyers who currently or formerly served as government
officers or employees. Rather it provides, in pertinent part:

         [A] lawyer having information that the lawyer knows is confidential government
         information about a person acquired when the lawyer was a public officer or
         employee, may not represent a private client whose interests are adverse to that
         person in a matter in which the information could be used to the material
         disadvantage of that person.

By its terms, the rule applies to any “lawyer having information that the lawyer knows is
confidential government information about a person,” without regard to whether that
lawyer is currently or formerly in government service.

The phrase “acquired when the lawyer was a public officer or employee” refers to a lawyer who
was in government service at the time the lawyer acquired the confidential government
information, not to a lawyer who is no longer in service with the government when the information
would be used for a private client’s benefit. In other words, the clause in context does not refer to
the lawyer’s employment status when seeking to “represent a private client.” Rather, it refers to
the lawyer’s employment status with the government at the time the lawyer “acquired” the
confidential government information.

Further, this reading accomplishes the objective of the Rule and leads to the soundest result. There
is no less need to restrict the misuse of confidential government information for private clients
when the lawyer is still employed by the government or serving as an official of the government
even if part-time. We do not perceive any countervailing considerations that would justify
exempting current public officers and employees from a disqualification provision designed to
prevent that lawyer from misusing confidential government information for a private client’s
benefit.

Other authorities have similarly concluded that Rule 1.11(c) applies not only to lawyers after they
leave government service but also to lawyers currently serving as public officers or employees
who, outside their government service, represent private clients. For example, the New York State
Bar Association’s ethics committee applied Rule 1.11(c) to a lawyer who concurrently served as
a town supervisor and maintained a private law practice.25 Citing an earlier opinion of its own,
that ethics committee observed that the Rule is designed to disqualify even part-time public
officers from accepting private clients. This application, the opinion recognized, would prevent


office if solicitor’s office consents, unless she had access to confidential information that could lead to unfair
advantage).
25
   See N.Y. State Bar Ethics Op. 1169 (2019), supra note 8.
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the private client from retaining the lawyer to gain an improper advantage through the lawyer’s
public office and would also avoid public suspicion about the client gaining such an advantage.26

Likewise, the Nebraska State Bar Association’s ethics committee concluded that part-time county
attorneys may not represent private clients in family law matters that involve support of a minor
where, through their public office, those part-time county attorneys have access to systems that
contain a wealth of confidential government information that could be used against an adverse
party.27

In sum, lawyers currently serving as public officers or employees are not exempt from Rule
1.11(c). Rule 1.11(c) applies, for example, to lawyers in private practice who are appointed to be
special prosecutors and continue to represent private clients, to lawyers who represent private
clients and are also part-time prosecutors or attorneys general, and to lawyers who represent private
clients and are also hired as counsel for a town or municipality.

III. Defining “private client” as used in ABA Model Rule of Professional Conduct 1.11(c)

Model Rule 1.11(c) applies to “a lawyer having information that the lawyer knows is confidential
government information about a person acquired when the lawyer was a public officer or
employee” when that lawyer represents a “private client.” This raises the question of whether a
“private client” is a client whom the lawyer represents in the lawyer’s private practice (i.e., outside
the scope of the lawyer’s public employment), or a client who is a private person or entity (as
opposed to a government entity or public official), or both.

Rule 1.11(c) applies in the very least to private persons and entities whom a lawyer represents in
private practice, whether that practice follows government service or is concurrent with it. This
interpretation is consistent with the ABA Formal Opinion 342 (1975) in which the Committee
determined that the term “private employment” in the text of ABA Model Code of Professional
Responsibility Disciplinary Rule 9-101(B), the predesessor to Model Rule 1.11(a)’s
disqualification provision, “refers to employment as a private practitioner.”28 The opinion
explained, “If one underlying consideration is to avoid the situation where government lawyers
may be tempted to handle assignments so as to encourage their own future employment in regard
to those matters, the danger is that a lawyer may attempt to derive undue financial benefit from
fees in connection with subsequent employment, and not that he may change from one salaried
government position to another.”29

Additionally, the term “private client” also includes public entities and officials whom the lawyer
represents in private practice, if those clients are not legally entitled to employ the confidential

26
   Id.
27
   See Neb. Lawyers’ Advisory Comm. Op. 22-01 (2022); see also R.I. Ethics Advisory Panel Op. 2016-03 (2016)
(although “the rationale of the Rule applies as well to concurrent government and private employment,” Rule 1.11 is
inapplicable because “the inquiring attorney [who served as a part-time judge] has not acquired disqualifying
confidential information about City in his role as municipal court judge”).
28
   See ABA Comm. on Ethics & Prof’l Responsibility, Formal Op. 342 (1975) (issued to interpret DR 9-101(B) after
the Model Code was amended to incorporate imputed disqualification. DR 9-101(B) read: “A lawyer shall not accept
private employment in a matter in which he had substantial responsibility while he was a public employee.”).
29
   Id. at 2.
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information.30 This conclusion is consistent not only with the Rule’s purpose but also with a federal
appellate decision, General Motors Corp. v. City of New York,31 which was well-known to the
Ethics 2000 Commission when it drafted Rule 1.11. Applying New York’s version of the Code of
Professional Responsibility, the court disqualified a former United States Department of Justice
lawyer—who had transitioned from government service to private practice in a law firm—from
representing the city of New York. The city was suing General Motors and wanted to hire the
lawyer and his firm. While assigned to the Department’s Antitrust Division, the lawyer had
substantial responsibility in a Department of Justice antitrust suit against General Motors. The
Court, interpreting New York’s Code of Professional Responsibility and Canon 9, found that the
lawyer was engaged in “private employment” for purposes of DR 9-101(B) because the lawyer
was practicing in a private firm.

The Rule is plainly intended, in part, to prevent a lawyer from using confidential government
information on behalf of a private (i.e., non-governmental) individual or entity whom the lawyer
represents in full-time or part-time private practice and who is not entitled to exploit the
information. However, as the General Motors case illustrates, there is no less need to protect
against the misuse of confidential government information on behalf of a public entity that differs
from the one to whom the information belongs and that is not entitled to use the information.

Accordingly, a lawyer who served as a public officer or employee, and who obtained confidential
government information about a person while working for the government, would be subject to
the Rule when the lawyer, in private employment, represents any client that is not entitled to use
the information. Typically, the new client will be a private person whom the lawyer represents in
private practice, but the Rule is not limited to this scenario.32

The Rule does not apply, however, when a current government lawyer represents a party, including
a private individual, in the lawyer’s role as a government lawyer. For example, as permitted by
law, a government lawyer may represent a government employee in the employee’s personal
capacity.33 Likewise, the Rule by its terms does not apply to lawyers who transfer from one




30
   Rule 1.11(c) prefaces its disqualification requirement with the phrase, “Except as law may otherwise expressly
permit.” Regardless of whether the law specifically authorizes the lawyer’s representation, the Rule should not apply
in the situation in which the lawyer’s client is legally permitted to use the information in question. When the law
permits the client to use the confidential government information that the lawyer acquired while in government
service, the reason for the disqualification provision – i.e., to prevent the improper use of confidential government
information – is inapplicable, and the client’s countervailing interest in counsel of choice outweighs any conceivable
interest in a wooden application of the rule. Cf. MODEL RULES OF PROF’L CONDUCT, Scope, para. [14] (“The Rules
of Professional Conduct are rules of reason.”).
31
   501 F.2d 639 (2d Cir. 1974).
32
   The Rule does not, however, apply to a lawyer who served as a public officer or employee, obtained confidential
government information about a person while working for the government, and transitioned to work in private
practice where the lawyer represents the same government entity (e.g., an agency, commission, bureau or board) as a
client. Although the term “private client” might be read broadly to include any client whom the lawyer represents in
private practice, it would not serve the Rule’s purpose to disqualify a lawyer from representing a public entity that is
legally entitled to use the information in question.
33
   See, e.g., Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971); 28 C.F.R.
§§ 50.15, 50.16.
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government position to another and undertake a representation in their role as a government
lawyer.34

                                                    Conclusion

Model Rule of Professional Conduct 1.11(c) applies to a lawyer who acquired confidential
government information while the lawyer was employed by or an official of the government,
regardless of whether the lawyer seeking to represent the private client has now left government
employ or office or maintains a private law practice (e.g., a part-time practice) while still in
government employ or office. The Rule applies to the representation of a “private client,” which
can be any client represented in the lawyer’s private practice that is not legally entitled to use the
confidential government information in question.

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34
   Where the particular government lawyer possesses relevant “confidential government information” that the lawyer
is not permitted to use, then wholly apart from the Rule, the government may opt to assign a different lawyer to the
matter to protect against misuse of the information. Further, regardless of whether the disqualification rule applies,
courts have discretion to disqualify lawyers as necessary to prevent the misuse of confidential information. See, e,g.,
MODEL RULES OF PROF’L CONDUCT R. 1.10, cmt. 7 (recognizing that even when a law firm satisfies the rule’s
screening requirement for a personally disqualified lawyer who moved to the firm, “tribunals may consider
additional factors in ruling upon motions to disqualify a lawyer from pending litigation”). And, of course, there are
potential remedies, including employment sanctions and civil liability, if a lawyer were to misuse confidential
government information.
